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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed February 26, 2019
______________________________________________________________________
        __________________________________________________________________

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                                      §
                                                 §
     JORGE CHAVEZ GARCIA,                        §             NO. 18-33930-SGJ13
                                                 §
     Debtor.                                     §             (Chapter 13)

      ORDER AMENDING ORDER SIGNED ON JANUARY 8, 2019 BY DISMISSING CASE
                 WITH PREJUDICE TO REFILING FOR 180 DAYS

              On January 8, 2019, this Court entered an Order Dismissing Case following Debtor’s

     failure to submit appropriate documents provided by Section 1321 and Sections 521(a)(1) and/or

     521(b) of the United States Bankruptcy Code and by Federal Rules of Bankruptcy Procedure

     3015(b) and 1007(c).

              On February 7, 2019, this Court considered Wayne Vance, Celso Duran, Francisco Perez,

     Gladys Barner, and Angela Galvis Schnuerle’s Motion To Amend Order Signed on January 8,

     2019 by Dismissing Case with Prejudice to Refiling For 180 Days and finds that said Motion

     should be GRANTED in its entirety.




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        It is therefore ORDERED that this Court hereby amends the Order Dismissing Case

signed on January 8, 2019 pursuant to General Order 2017-01 by GRANTING Wayne Vance,

Celso Duran, Francisco Perez, Gladys Barner, and Angela Galvis Schnuerle’s Motion to Amend

Order Signed on January 8, 2019 by Dismissing Case with Prejudice to Refiling for 180 Days

and by dismissing this current Chapter 13 bankruptcy petition filed by Debtor Jorge Chavez

Garcia in the above-styled and numbered Chapter 13 proceeding.

                                  # # # End of Order # # #

Order submitted by:
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